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         NIKON CORPORATION and NIKON INC.
    14
                                   UNITED STATES DISTRICT COURT
    15
                                 CENTRAL DISTRICT OF CALIFORNIA
    16
                                             WESTERN DIVISION
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    18
         CARL ZEISS AG and ASML                    Case No. 2:17-cv-07083 RGK (MRWx)
    19   NETHERLANDS, B.V.,
                                                   DEFENDANTS NIKON
    20                         Plaintiffs,         CORPORATION AND NIKON
                                                   INC.’S REQUEST FOR SPECIAL
    21          v.                                 VERDICT, L.R. 49
    22   NIKON CORPORATION, SENDAI                 Trial:     November 6, 2018
         NIKON CORPORATION, and                    Time:      9:00 a.m.
    23   NIKON INC.,                               Courtroom: 850
    24                         Defendants.         HON. R. GARY KLAUSNER
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         Case No. 2:17-cv-07083 RGK (MRWx)
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         DEFENDANTS’ REQ. FOR SPECIAL VERDICT
         la-1401169
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     1          Pursuant to Local Rule 49, Defendants Nikon Corporation and Nikon Inc.
     2   request a special verdict and respectfully submit the attached proposed special
     3   verdict form.
     4
     5          Dated: October 30, 2018         Respectfully submitted,
     6                                          JACK LONDEN
                                                VINCENT J. BELUSKO
     7                                          MORRISON & FOERSTER LLP
     8
     9                                          By: /s/ Vincent J. Belusko
                                                    Vincent J. Belusko
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    11                                                 NIKON CORPORATION
                                                       AND NIKON INC.
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